 Case 2:18-cv-06691-MWF-AS Document 1 Filed 08/03/18 Page 1 of 7 Page ID #:1



     1   MANATT, PHELPS & PHILLIPS, LLP
         John M. LeBlanc (SBN 155842)
     2   E-mail: JLeB1anc@manatt.com
         I leana M. Hernandez (SBN 198906)
     3   E-mail: Iliernandez@manatt.com
         Luke L. Punnakanta (SBN 293488)
     4   E-mail: LPunnakanta@manatt.com
         11355 W.Olympic Blvd
     5   Los Angeles, California 90064
         Telephone: (310)312-4228
     6   Facsimile: (310) 914-5855
     7   WILLIAMS & CONNOLLY LLP
         Brendan V. Sullivan, Jr. {Pro Hac Vice application forthcoming)
     8   E-mail: bsullivan@wc.com                                   _
         William R. Murray, Jr. {Pro Hac Vice application forthcoming)
     9   E-mail: bmurray@wc.com                              _
         Steven M. Cady {Fro Hac Vice application forthcoming)
10       E-mail: scady@wc.com
         725 Twelfth Street, N.W.
11       Washington, D.C. 20005-5901
         Telephone: (202) 434-5000
12       Facsimile: (202) 434-5029
13       Attorneys for Defendants
14                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
         OHAD BARKAN, individually and on
16       behalf of all others similarly situated,
17                          Plaintiff,
18             v.                                   Case No. 2:18-cv-06691

19       HEALTH NET OF CALIFORNIA, INC.,
         HEALTH NET LIFE INSURANCE CO.,             NOTICE OF REMOVAL
20       MANAGED HEALTH NETWORK,
         INC., HEALTH NET, INC., and
21       CENTENE CORP.,
22                          Defendants.
23
24
25
26
27
28
PS &
,p
                                                                       NOTICE OF REMOVAL
AW
Case 2:18-cv-06691-MWF-AS Document 1 Filed 08/03/18 Page 2 of 7 Page ID #:2



  1          Pursuant to 28 U.S.C. §§ 1441, 1446, and 1453, Defendants Health Net of
  2    California, Inc., Health Net Life Insurance Co., Managed Health Network, Inc.,
  3    Health Net, Inc., and Centene Corp. ("Defendants") give notice of the removal of
  4    the above-captioned matter to the United States District Court for the Central
  5    District of California. As grounds for removal, Defendants state as follows:
  6    I.    NATURE OF THE REMOVED CASE
  7          1.     On June 29, 2018, Plaintiff filed the action captioned Ohad Barkan,
  8    individually and on behalf of all others similarly situated v. Health Net of
  9    California, Inc., Health Net Life Insurance Co., Managed Health Network, Inc.,
10     Health Net, Inc., and Centene Corp., in the Superior Court of California, County of
11     Los Angeles. The case was assigned Case Number BC711987.
12           2.     All Defendants were served on July 6, 2018.
13           3.     Plaintiff alleges that he suffers from ALS, a progressive neurological
14     disorder. Compl.
                     |  36. He further alleges that in January 2018 he was prescribed
15     Radicava, an injectable medication, and a Trilogy 100 ventilator, both to treat his
16     ALS. Id. 141. Plaintiff alleges that authorization for these treatments was
17     improperly denied as not medically necessary (in the case of Radicava) and
18     "experimental or investigational" (in the case of the ventilator). Id. ^ 42-46.
19           4.     Plaintiff further alleges that he appealed the denial, and that Health Net
20     reversed course after about a week and a half. Id. 1 55. However, he alleges that he
21     is concerned that his authorization may lapse and Health net may not renew it. Id. 1
22     59.
23           5.     Based upon the above conduct, Plaintiff brings five causes of action:
24                  a.     Breach of Written Contract, id. H 73-83;
25                  b.    Breach of the Implied Covenant of Good Faith and Fair Dealing,
26                         id.   84-94;
27                  c.     Violation of California's Unfair Competition Law, Cal. Bus. &
28                         Prof. Code § 17200 et seq., see Compl. H 95-108;
PS &
                                                 2                       NOTICE OF REMOVAL
 Case 2:18-cv-06691-MWF-AS Document 1 Filed 08/03/18 Page 3 of 7 Page ID #:3



     1                 d.    Violation of California's Consumer Legal Remedies Act, Cal.
     2                       Civ. Code § 1750 et seq., see Compl.       109-122; and
     3                 e.    Declaratory Relief, id. ^ 123-126.
     4           6.    Federal jurisdiction exists over this case under the Class Action
     5   Fairness Act, 28 U.S.C. § 1332(d) ("CAFA").
     6   II.     THIS REMOVAL IS PROCEDURALLY PROPER
     7           7.    This notice of removal is timely under 28 U.S.C. § 1446(b)(1), as the
     8   date of filing is within 30 days of the date of service on all Defendants, July 6,
     9   2018.
10               8.    Venue is proper in the Central District of California under 28 U.S.C. §
11       1441(a) because the district encompasses Los Angeles County.
12               9.    All Defendants consent to this removal.
13               10.   Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all of the
14       pleadings filed in the State Court are attached hereto as Exhibit A.
15               11.   A copy of the written notice required by 28 U.S.C. § 1446(d), attached
16       hereto as Exhibit B, is being filed in the State Court and will be served on Plaintiff.
17       III.    FEDERAL JURISDICTION EXISTS UNDER CAFA
18               12.   CAFA grants district courts original jurisdiction over class actions
19       where there is minimal diversity, the putative class contains at least 100 members,
20       and the amount in controversy exceeds $5 million. 28 U.S.C. § 1332(d)(2), (5).
21       For notice of removal purposes, the defendant need only make "a plausible
22       allegation that the amount in controversy exceeds the jurisdictional threshold."
23       Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014).
24               13.   Plaintiff is a California citizen. Compl.   1.
25               14.   Defendant Centene Corporation is a Delaware corporation whose
26       principal place of business is in Missouri. Compl. ^ 6. Centene Corporation is
27       therefore a citizen of Delaware and Missouri. 28 U.S.C. § 1332(c)(1).
28
PS &
,p
                                                   3                        NOTICE OF REMOVAL
Case 2:18-cv-06691-MWF-AS Document 1 Filed 08/03/18 Page 4 of 7 Page ID #:4



  1          15.    The minimal diversity requirement is met, because Centene
  2    Corporation is not a citizen of the same state as Plaintiff. See 28 U.S.C. §
  3    1332(d)(2)(A).
  4          16.    Plaintiff defines the proposed class as "[a]ll California residents
  5    enrolled in Health Net's Blue & Gold HMO, or Health Net's private individual and
  6    family HMO health care services plans and PPO insurance policies sold through the
  7    Covered California exchange on or after October 1, 2013." Compl. ^61. Plaintiff
  8    alleges that the class contains "thousands of persons." Id. ^ 63. Therefore, the
  9    proposed class, if one is determined by this Court to exist, has more than 100
10     members.
11           17.    Defendants deny that Plaintiff is entitled to any relief, but for amount-
12     in-controversy purposes, the Court must assume that Plaintiff succeeds on his
13     claims. See Lewis v. Verizon Comm 'ns, Inc., 627 F.3d 395, 400 (9th Cir. 2010)
14     ("The amount in controversy is simply an estimate of the total amount in dispute,
15     not a prospective assessment of defendant's liability.") Under this standard,
16     Plaintiffs complaint meets the $5 million amount-in-controversy requirement.
17           18.    Plaintiff alleges that Defendants improperly denied his claims for
18     treatment required for his ALS, only reversing course after an appeal. Compl. ^
19     42-55. Plaintiff seeks damages for this alleged improper denial. See id. ^ 81-82.
20           19.    Plaintiff bases his claims on the alleged temporary denial of two
21     treatments—a prescription for the injectable drug Radicava and a Trilogy 100
22     ventilator. Id. ^ 41. Each of these treatments is very expensive. Radicava can cost
23     about $1,000 per injection, and a course of treatment with the drug could cost
24     nearly $150,000 a year. See ABC News, "New ALS drug Radicava comes with
25     new questions as well" (Aug. 9, 2017), https://abcnews.go.com/Health/als-drug-
26     radicava-questions/storv?id=49124789. A Trilogy 100 ventilator can cost $10,000.
27     Even though Plaintiff alleges that his treatment was delayed only for a few weeks,
28
PS &

                                                 4                       NOTICE OF REMOVAL
 Case 2:18-cv-06691-MWF-AS Document 1 Filed 08/03/18 Page 5 of 7 Page ID #:5



  1    he appears to be claiming damages in the thousands of dollars. Plaintiff alleges that
  2    his claims are "typical" of those of the class. Compl. *[[ 65.
  3          20.    Plaintiff also alleges that class members are entitled to "restitution of
  4    all monies paid" for their policies to the extent they reflect the difference between
  5    the amounts paid and the alleged "actual" values of the policies. Id.f 108.
  6    Defendants deny that class members overpaid for their policies, but the premiums
  7    paid by the class over the period for which Plaintiff claims damages are many times
  8    larger than $5 million. See Lewis, 627 F.3d at 399 (holding that amount in
  9    controversy over claims of allegedly unauthorized billing included all billed
10     amounts; defendant did not need to make initial demonstration of which amounts
11     were unauthorized).
12           21.    Plaintiff further requests a declaration that Health Net may not exclude
13     coverage for treatments as "Experimental or Investigational," because he alleges
14     that the term is "ambiguous and unenforceable." Compl. If 125. "In actions seeking
15     declaratory or injunctive relief, it is well established that the amount in controversy
16     is measured by the value of the object of the litigation." Cohn v. Petsmart, Inc.,
17     281 F.3d 837, 840 (9th Cir. 2002) (internal quotation marks omitted). Defendants
18     deny that Plaintiff is entitled to a declaration rendering that term—a common one in
19     health insurance contracts—inoperable. But if such a declaration were granted, as
20     Plaintiff seeks, then Defendants would be forced to increase their reimbursements
21     by over $5 million going forward.
22           22.    Finally, Plaintiff claims both punitive damages and attorneys' fees.
23     See, e.g., Compl. ^f 91, 108 (attorneys' fees); 93, 106, 121 (punitive damages).
24     Defendants deny that Plaintiff is entitled to punitive damages or attorneys' fees, but
25     both are properly included in the amount in controversy. See, e.g.,Adkins v. J.B.
26     Hunt Transport, Inc., 293 F. Supp. 3d 1140, 1147-48 (E.D. Cal. 2018). For
27     amount-in-controversy purposes, courts commonly consider punitive damages at a
28     one-to-one ratio to economic damages, see Sloan v. 1st Am. Auto. Sales Training,
PS &

                                                 5                        NOTICE OF REMOVAL
 Case 2:18-cv-06691-MWF-AS Document 1 Filed 08/03/18 Page 6 of 7 Page ID #:6



     1   No. 2:16-cv-5341, 2017 WL 1395479, at *3 (C.D. Cal. Apr. 17, 2017), and assume
     2   attorneys' fees equal to 25% of economic damages, see Heejin Lim v. Helio, LLC,
     3   No. 1 l-cv-9183, 2012 WL 359304, at *3 (C.D. Cal. Feb. 2, 2012).
     4         23.    For the above reasons, CAFA provides jurisdiction over this case.
     5   IV.   CONCLUSION
     6         Pursuant to 28 U.S.C. §§ 1441, 1446, and 1453, Defendants hereby remove
     7   the above-captioned matter to the United States District Court for the Central
     8   District of California.
     9   Dated: August 3, 2018             MANATT, PHELPS & PHILLIPS, LLP
10
11
                                           By: /s/ John M. LeBlanc
12                                               John M. LeBlanc
                                                 Attorneys for Defendants
13
14
15
16

17
18
19
20
21

22
23
24
25
26
27
28
PS &
,p
AW
                                                  6                       NOTICE OF REMOVAL
Case 2:18-cv-06691-MWF-AS Document 1 Filed 08/03/18 Page 7 of 7 Page ID #:7



     1
                                     CERTIFICATE OF SERVICE
     2
                  I, Brigette Scoggins, certify and declare as follows:
     3
                  I am over the age of 18 years of age and am not a party to this action.
     4
                  My business address is 11355 W. Olympic Boulevard, Los Angeles, CA
     5
         90064. On August 3, 2018,1 served a copy of the following:
     6
         NOTICE OF REMOVAL
     7
     8   Daniel J. Callahan                            Attorneys For Plaintiff
     9   Edward Susolik                                Ohad Barkan, individually and on behalf
         Richard T. Collins                            of all others similarly situated
10       Damon D. Eisenbrey
         CALLAHAN & BLAINE, APLC
11
         3 Hutton Centre Drive, 9th Floor
12       Santa Ana, CA 92707
         Phone: (714) 241-4444
13       Fax: (714)241-4445
14
15                      (BY MAIL) By placing such document(s) in a sealed envelope, with
                        postage thereon fully prepaid for first class mail, for collection and
16                      mailing at Manatt, Phelps & Phillips, LLP, Los Angeles, California
17                      following ordinary business practice. I am readily familiar with the
                        practice at Manatt, Phelps & Phillips, LLP for collection and
18                      processing of correspondence for mailing with the United States Postal
19                      Service, said practice being that in the ordinary course of business,
                        correspondence is deposited in the United States Postal Service the
20                      same day as it is placed for collection.
21
                  I declare under penalty of perjury under the laws of the United States of
22
         America that the foregoing is true and correct.
23
24                      Executed on August 3, 2018, at Los Angeles, California.

25
                                                                            /?.
26                                                     Al A-
                                                                 Brigettd' Scoggins^ 0
27
28
PS &
,p                                                                        CERTIFICATE OF SERVICE
         320676932.1
AW
